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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

C. TATE GEORGE,                                     :
                                                    :      Civil No. 1:18-CV-2412
      Petitioner                                    :
                                                    :      (Judge Kane)
v.                                                  :
                                                    :      (M. J. Carlson)
UNITED STATES OF AMERICA,                           :
                                                    :
      Respondent                                    :

                     REPORT AND RECOMMENDATION

I.    Statement of Facts and of the Case

      C. Tate George, a federal prisoner, has filed a petition for a writ of habeas

corpus pursuant to 28 U.S.C. ' 2241, which attacks aspects of the 108-month

sentence imposed upon him following his conviction at trial on federal wire fraud

offenses by the United States District Court for the District of New Jersey. (Doc. 1.)

The background of this case was aptly summarized by the court of appeals in the

following terms when it affirmed George’s conviction and sentence:

      On March 23, 2012, George was indicted on four counts of wire fraud
      under 18 U.S.C. § 1343 in connection with a Ponzi scheme he
      conducted under the auspices of The George Group, LLC. From 2005
      to 2011, George raised about $3.4 million by falsely representing to
      investors that their money would be used for real estate development
      projects and by misrepresenting his portfolio and activities.




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      Instead of using the funds raised as promised, George diverted them to
      pay his own personal expenses and to return principal and interest to
      existing investors. George's fraud was exposed when he became unable
      to make required payments and failed to pursue most of the projects he
      had promised.

      The Government identified 22 victims of George's scheme and pegged
      their actual losses at around $2.5 million. After trial testimony from
      several victims and extensive Government exhibits tracing his financial
      records, George was convicted on all counts. The District Court
      sentenced him to 108 months' imprisonment followed by three years'
      supervised release and restitution of $2,550,507.28.

United States v. George, 684 F. App'x 223, 225 (3d Cir. 2017).

      George appealed this conviction and sentence, but on direct appeal this

conviction and sentence were affirmed. Id. In particular, on appeal George

challenged the manner in which his sentence was calculated under the Federal

Sentencing Guidelines, a claim he repeats in the instant petition for writ of habeas

corpus. As to this issue the appellate court found George’s claims to be without

merit, noting that:

      Finally, George contends that the District Court incorrectly calculated
      his Guidelines range. He claims that the 2-level enhancement for
      perjury was unjustified and the 20-level enhancement for victim
      hardship and financial loss was unsupported by the evidence. We
      review these factual findings by the District Court for clear error.
      United States v. Grier, 475 F.3d 556, 570 (3d Cir. 2007).

      The enhancement for perjury was proper because George testified
      falsely at trial. He “very, very adamant[ly]” “made material
      misrepresentations” with respect to his authority to use investors'

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      money. Supp. App. 3531. Some of his assertions at trial were
      “irreconcilably ... at odds with what the jury necessarily found in the
      verdicts.” Id. Because the District Court was bound “to accept the facts
      necessarily implicit in the verdict,” United States v. Johnson, 302 F.3d
      139, 154 (3d Cir. 2002) (citation omitted), it properly found that George
      lied when he testified contrary to those facts. For example, the jury
      found that George used investment money for unauthorized purposes,
      so George's protestations to the contrary had to be rejected by the Court.
      The Court carefully explained its reasoning and correctly applied
      USSG § 3C1.1 & app. n.4(B) to increase George's Guidelines range by
      two levels.

      We also conclude that the enhancement for the financial loss of his
      victims was appropriate. The District Court thoroughly reviewed the
      facts of record to determine the total loss to victims was $2,550,507.28.
      Amount of loss need only be “found by a preponderance of the
      evidence” at sentencing, and a “reasonable estimate” is sufficient.
      United States v. Ali, 508 F.3d 136, 145 (3d Cir. 2007) (quoting USSG
      § 2B1.1 app. n.3(C)) (other citation omitted). George's sole basis for
      objecting to the $2.5 million loss amount (and the corresponding
      hardship to victims) is his unreliable sentencing report. That report
      cannot overcome the District Court's detailed findings with respect to
      the loss and the financial hardship that befell his victims. Supp. App.
      3462–66 (“[T]he government's proofs as to this four-level enhancement
      are unassailable and not refuted [ ] by anything the defendant presented
      at this hearing.” Id. at 3462.). The loss amount properly supported a 16-
      level enhancement under USSG § 2B1.1(b)(1)(I), and the hardship to
      five or more victims correctly enhanced his range by four more levels,
      id. § 2B1.1(b)(2)(B).


      United States v. George, 684 F. App'x 223, 227–28 (3d Cir. 2017).

      George also previously attempted to vacate this conviction through a motion

filed with the sentencing court pursuant to 28 U.S.C. §2255, but this motion was



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rejected by the sentencing court. George v. United States, No. CV 17-2641 (AET),

2018 WL 1064220, at *1 (D.N.J. Feb. 27, 2018).

      It is against this procedural backdrop that George has now filed a § 2241

habeas petition, re-arguing the sentencing issues that were considered and rejected

on appeal. George has also filed a motion to expedite consideration of this petition.

(Doc. 4.) While we will grant this motion to expedite, for the reasons set forth below,

it is recommended this petition either be dismissed or transferred to the sentencing

court, the United States District Court for the District of New Jersey, for

consideration by that court.

II.   Discussion

             A.     This Petition Should Be Dismissed or Transferred to the
                    Sentencing Court

      In this case, we find that the petitioner has not made out a valid case for

pursuing habeas relief in this district in lieu of a second or successive motion to

correct sentence filed in the district of conviction under 28 U.S.C. § 2255. This

showing is a prerequisite for a successful habeas petition in this particular factual

context. Therefore, since the petitioner has not made a showing justifying habeas

relief at this time, this petition is subject to summary dismissal pursuant to Rule 4 of

the Rules Governing Section 2254 Cases in the United States District Courts. 28


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U.S.C. § 2254 (Rule 4 applies to § 2241 petitions under Rule 1(b) of the Rules

Governing Section 2254 Cases in the United States District Courts). See, e.g.,

Patton v. Fenton, 491 F. Supp. 156, 158-59 (M.D. Pa. 1979) (explaining that Rule 4

is “applicable to Section 2241 petitions through Rule 1(b)”).

      Rule 4 provides in pertinent part: “If it plainly appears from the petition and

any attached exhibits that the petitioner is not entitled to relief in the district court,

the judge must dismiss the petition and direct the clerk to notify the petitioner.”

Rule 4 of the Rules Governing Section 2254 Cases in the United States District

Courts. Summary dismissal of this habeas petition, which seeks to correct a federal

prisoner’s sentence, is appropriate here since it is well-settled that “the usual avenue

for federal prisoners seeking to challenge the legality of their confinement,”

including a challenge to the validity of a sentence, is by way of a motion filed under

28 U.S.C. § 2255. In re Dorsainvil, 119 F.3d 245, 249 (3d Cir. 1997). See also

United States v. Miller, 197 F.3d 644, 648 n.2 (3d Cir. 1999) (stating that § 2255

provides federal prisoners a means by which to bring collateral attacks challenging

the validity of their judgment and sentence); Snead v. Warden, F.C.I. Allenwood,

110 F. Supp. 2d 350, 352 (M.D. Pa. 2000) (finding that challenges to a federal

sentence should be brought in a motion filed under 28 U.S.C. § 2255). Indeed, it is

now clearly established that § 2255 specifically provides the remedy to federally-

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sentenced prisoners that is the equivalent to the relief historically available under the

habeas writ. See Hill v. United States, 368 U.S. 424, 427 (1962) (stating, “it

conclusively appears from the historic context in which § 2255 was enacted that the

legislation was intended simply to provide in the sentencing court a remedy exactly

commensurate with that which had previously been available by habeas corpus in

the court of the district where the prisoner was confined”).

      Therefore, as a general rule, a § 2255 motion “supersedes habeas corpus and

provides the exclusive remedy” to one in custody pursuant to a federal court

conviction. Strollo v. Alldredge, 463 F.2d 1194, 1195 (3d Cir. 1972). Indeed, it

is clear that “Section 2241 ‘is not an additional, alternative or supplemental remedy

to 28 U.S.C. § 2255.’” Gomez v. Miner, No. 3:CV-06-1552, 2006 WL 2471586,

at *1 (M.D. Pa. Aug. 24, 2006) (quoting Myers v. Booker, 232 F.3d 902 (10th Cir.

2000)) Instead, § 2255 motions are now the exclusive means by which a federal

prisoner can challenge a conviction or sentence that allegedly is in violation of the

Constitution or federal laws or that is otherwise subject to collateral attack. See

Davis v. United States, 417 U.S. 333, 343 (1974). Thus, federal inmates who wish

to challenge the lawfulness of their sentences must typically file motions with the

sentencing court under § 2255.

      This general rule admits of only one, narrowly-tailored, exception, albeit an

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exception that has no application here. A defendant is permitted to pursue relief

under 28 U.S.C. § 2241 only where he shows that the remedy under § 2255 would

be “inadequate or ineffective to test the legality of his detention.” 28 U.S.C. §

2255(e); see also United States v. Brooks, 230 F.3d 643, 647 (3d Cir. 2000)

(recognizing availability of § 2241 in cases where petitioners have no other means

of having claims heard). The inadequacy or ineffectiveness must be “a limitation

of scope or procedure . . . prevent[ing] a § 2255 proceeding from affording . . . a full

hearing and adjudication of [a] wrongful detention claim.” Okereke v. United

States, 307 F.3d 120 (3d Cir. 2002) (citing Cradle v. United States, 290 F.3d 536,

538 (3d Cir. 2002) (per curiam)). “It is the inefficacy of the remedy, not the personal

inability to use it, that is determinative.” Cradle, 290 F.3d at 538-39 (citing Garris

v. Lindsay, 794 F.2d 722, 727 (D.C. Cir. 1986)). Accordingly, “[s]ection 2255 is

not inadequate or ineffective merely because the sentencing court does not grant

relief, the one-year statute of limitations has expired, or the petitioner is unable to

meet the stringent gatekeeping requirements of the amended § 2255.” Cradle, 290

F.3d at 539. Furthermore, if a petitioner improperly challenges a federal conviction

or sentence under § 2241, the petition must be dismissed for lack of jurisdiction.

Application of Galante, 437 F.2d 1164, 1165 (3d Cir. 1971).

      In this case, the representations that the petitioner makes in his petition simply

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do not demonstrate that he is entitled to resort to seeking habeas relief under 28

U.S.C. § 2241 on the grounds that a motion under 28 U.S.C. § 2255 would be

ineffective or inadequate. None of the petitioner’s claims fall within the narrow

exception outlined in In re Dorsainvil, 19 F.3d 245 (3d Cir. 1997), in which § 2241

relief could be available in lieu of a motion under 28 U.S.C. § 2255. In Dorsainvil,

the Third Circuit held that § 2241 relief was available only in very narrow instances

to a petitioner who had no earlier opportunity to challenge his conviction for conduct

that an intervening change in substantive law made no longer criminal. Dorsainvil,

119 F.3d at 251.

      In this regard: “[i]t is important to note in this regard that >actual innocence=

means factual innocence, not mere legal insufficiency.” Bousley v. United States,

523 U.S. 614, 623-24 (1998) (citing Sawyer v. Whitley, 505 U.S. 333, 339 (1992)).

“To establish actual innocence, petitioner must demonstrate that, ‘ “ ‘in light of all

the evidence,” ’ ‘it is more likely than not that no reasonable juror would have

convicted him.’ Schlup v. Delo, 513 U.S. 298, 327-328 (1995) (quoting Friendly,

Is Innocence Irrelevant? Collateral Attack on Criminal Judgments, 38 U. Chi. L.

Rev. 142, 160 (1970)).” Bousley, 523 U.S. at 623. Applying this principle to claims

made under Dorsainvil:

      [T]his Court would have jurisdiction over Petitioner’s petition if, and
      only if, Petitioner demonstrates: (1) his “actual innocence,” (2) as a
      result of a retroactive change in substantive law that negates the
      criminality of his conduct, (3) for which he had no other opportunity to
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      seek judicial review. See Dorsainvil, 119 F.3d at 251B52; Cradle v. U.S.
      ex rel. Miner, 290 F.3d 536, 539 (3d Cir.2002); Okereke v. United
      States, 307 F.3d 117, 120 (3d Cir.2002). A claim of “actual innocence”
      relates to innocence in fact, not innocence based on a legal, procedural
      defect. A litigant must present evidence of innocence so compelling that
      it undermines the court’s confidence in the trial’s outcome of
      conviction; thus, permitting him to argue the merits of his claim. A
      claim of actual innocence requires a petitioner to show: (a) new reliable
      evidence not available for presentation at the time of the challenged
      trial; and (b) that it is more likely than not that no reasonable juror
      would have convicted the petitioner in the light of the new evidence.
      See House v. Bell, 547 U.S. 518, 126 S. Ct. 2064, 165 L.Ed.2d 1 (2006);
      Schlup v. Delo, 513 U.S. 298, 324, 327, 115 S. Ct. 851, 130 L.Ed.2d
      808 (1995). Furthermore, the Supreme Court, in House, emphasized
      that the gateway standard for habeas review in claims asserting actual
      innocence is extremely demanding and permits review only in the
      “extraordinary” case. See House, 547 U.S. at 536B37 (citing Schlup,
      513 U.S. at 327).

White v. Zickefoose, CIV 10-0548 (RMB), 2010 WL 1050171 (D.N.J. Mar. 19,

2010).

      On its face, this petition simply does not demonstrate that this narrow

exception has any legitimate application to the instant proceedings. George’s crime,

wire fraud, remains as illegal today as it was when George was convicted at trial.

Therefore, the Dorsainvil exception, under which § 2241 relief could be available in

lieu of a motion under 28 U.S.C. § 2255, simply has no application here. Instead, the

petitioner’s current § 2241 petition seems explicitly premised on a notion of judge-

shopping, a desire to litigate sentencing claims in a different forum. Such a claim is

plainly inadequate as an excuse for foregoing the proper course of litigating

collateral challenges to a petitioner’s federal conviction, and therefore this request
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must be rejected by this court. Manna v. Schultz, 591 F.3d 664 (3d Cir. 2010).

      The petitioner may not avoid this outcome by simply arguing that the

sentencing court failed to grant him relief in the past when he filed a motion under

28 U.S.C. § 2255. While we take no position on whether George may be able to

successfully obtain leave from the United States Court of Appeals to file a second

or successive motion for relief under § 2255 with the United States District Court,

to the extent he wishes to pursue such relief, he should consult the Rules Governing

Section 2255 Proceedings for the United States District Courts. In particular, the

petitioner is directed to Rule 9, which provides that “[b]efore presenting a second or

successive motion, the moving party must obtain an order from the appropriate court

of appeals authorizing the district court to consider the motion, as required by 28

U.S.C. § 2255, para. 8.” See also 28 U.S.C. § 2244(b)(3) (outlining procedure for

obtaining leave from the court of appeals to file a second or successive motion for

relief in the district court); 28 U.S.C. § 2255(h).1

      Reliance on the process for pursuing second and successive motions to correct

sentence under 28 U.S.C. § 2255 is particularly appropriate here given the nature of


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 Section 2255(h) provides that a second or successive petition “must be certified”
by a panel of the appropriate court of appeals to contain either “(1) newly
discovered evidence that, if proven and viewed in light of the evidence of the
whole, would be sufficient to establish by clear and convincing evidence that no
reasonable factfinder would have found the movant guilty of the offense; or (2) a
new rule of constitutional law, made retroactive to cases on collateral review by
the Supreme Court, that was previously unavailable.”
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these claims, since it is evident that his request may call for further fact-finding by

the sentencing judge. See United States v. Johnson, 587 F.3d 203 (3d Cir. 2009).

Thus, the issues framed by this petition are uniquely within the purview of the

sentencing judge and are uniquely susceptible to resolution through a motion to

correct sentence under § 2255.

      Furthermore, while the petitioner suggests that he has tried, unsuccessfully, to

file a prior § 2255 petition, this assertion, standing alone, does not demonstrate that

§ 2255 would be “inadequate or ineffective to test the legality of his detention.” 28

U.S.C. § 2255(e). In this regard it bears repeating that “[i]t is the inefficacy of the

remedy [under § 2255], not the personal inability to use it, that is determinative.”

Cradle, 290 F.3d at 538-39 (citing Garris v. Lindsay, 794 F.2d 722, 727 (D.C. Cir.

1986)). Accordingly, as a matter of law “[s]ection 2255 is not inadequate or

ineffective merely because the sentencing court does not grant relief, . . . .” Cradle,

290 F.3d at 539. Therefore, the petitioner may not simply rely upon the prior refusal

of the courts to grant him relief under § 2255 to justify foregoing such a motion at

this time.

      Nor can the petitioner belatedly secure relief under § 2241, after having been

denied relief under § 2255, by asserting that, while guilty of the underlying offenses,

he is “actually innocent” of the sentencing enhancements imposed by the court. Such

arguments, while frequently made by federal inmates, are rarely embraced by the

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courts. Indeed, courts, including this Court, have repeatedly rebuffed efforts by

prisoners to use § 2241 to by-pass the requirements of § 2255 based upon claims of

“actual innocence” that relate solely to the application of some sentencing

enhancement. See, e.g., Montes v. Holt, 179 F.App’x 824 (3d Cir. 2006); Sines v.

Wilner, No. 09-1240, 2009 WL 2365406 (D. Colo. July 31, 2009); Kennedy v.

Miner, No. 06-314, 2006 WL 2645148 (M.D. Pa. Sept. 14, 2006).

      Thus, dismissal of this petition without prejudice to George pursuing a request

to file a second or successive §2255 petition in the district of conviction is entirely

appropriate here.

      In the alternative, the petition could be transferred to the District of New

Jersey, so the sentencing district court may consider this petition. Federal habeas

corpus proceedings are essentially civil proceedings, and as such are governed by

the statutes and rules which apply generally to civil litigation. Thus, such petitions

are also subject to the general rules governing venue in civil litigation, including title

28 U.S.C. ' 1404(a), which states as follows: “For the convenience of parties and

witnesses, in the interest of justice, a district court may transfer any civil action to

any other district of division where it might have been brought.”

      Adhering to this familiar principle, we observe that when courts in this district

have been confronted by habeas petitions, like the petition lodged here, which

challenge aspects of a sentence imposed by another federal district court, they have

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on occasion relied upon ' 1404 to order the transfer of the petition to the sentencing

court for its consideration. In reaching this result we have observed that:

      The Court may apply “traditional venue considerations,” including
      convenience to the parties, where material events took place, and where
      records and witnesses pertinent to a petitioner’s claim may be found, to
      habeas cases. Braden v. 30th Judicial Circuit Court, 410 U.S. 484, 493-
      94, 93 S. Ct. 1123, 35 L.Ed.2d 443 (1973). Indeed, this Court has
      followed this course of action in other cases where an inquiry into the
      sentencing court’s intent was necessary to properly dispose of a
      petition. . . . . See Argentina v. Sniezek, Civil No. 4:09-CV-0382, 2010
      WL 2632561, at *2 (M.D. Pa. Jun. 28, 2010) (Jones, J.); Gardner v.
      Williamson, Civil No. 3:07-CV-1788, 2008 WL 1752229, at *4 (M.D.
      Pa. April 14, 2008) (Munley, J.) (citing Verissimo v. INS, 204
      F.Supp.2d 818, 820 (D.N.J. 2002) (finding that “a habeas petition may
      be transferred to the district court of the state in which the petitioner
      was sentenced and convicted, even if the petitioner was transferred to
      prison in a different state.”); Wilkins v. Erickson, 484 F.2d 969, 973
      (8th Cir. 1973) (allowing transfer of habeas corpus case from the
      District of South Dakota to the District of Montana because “Montana,
      the state of conviction and sentencing, is the most convenient forum
      because of the availability of witnesses and records.”).

Stover v. Sniezek, No. 1:10-CV-1213, 2010 WL 3220318, *4 (M.D. Pa. Aug. 12,

2010) (Jones, J.); see also Argentina v. Sniezek, Civil No. 4:09-CV-0382, 2010 WL

2632561, *2 (M.D. Pa. Jun. 28, 2010) (Jones, J.); Gardner v. Williamson, Civil No.

3:07-CV-1788, 2008 WL 1752229, *4 (M.D. Pa. April 14, 2008) (Munley, J.).

      In this case, the prerequisites for a transfer of this matter to the District of New

Jersey pursuant to 28 U.S.C. ' 1404 are satisfied. At the outset, it is apparent that

this venue is another district where this claim might have been brought through a

motion under 28 U.S.C. ' 2255. It is also evident that the second prerequisite for a

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transfer order is present here: A transfer of this action would serve: “the convenience

of parties and witnesses, [and] the interest of justice.” 28 U.S.C. ' 1404(a). As we

have previously noted when transferring other petitions to the sentencing district:

      Because the District Court . . . sentenced the petitioner, the events
      material to the case took place in that district. In addition, the court in
      that district has access to the evidence that led the court to make its
      sentencing . . . determination and can best access any witnesses
      necessary to investigate the case. The interests of judicial efficiency and
      economy would best be served by transferring the case to the
      [sentencing court].

Gardner, 2008 WL 1752229, at *4.

      Moreover, in the instant case “ We need not. . . be overly concerned with the

limitations on transfer in section 1404(a), as we believe that there is at least a

plausible argument that if [the petitioner] has no other remedy in the district of his

conviction and sentencing, . . . the district court [may] exercise[e] jurisdiction under

the All–Writs Act, 28 U.S.C. § 1651(a) to grant him a writ of error coram nobis.”

In re Nwanze, 242 F.3d 521, 526 (3d Cir. 2001).

      Finally, we note that an order transferring this case to the sentencing district

for further proceedings also protects the petitioner’s rights as a pro se litigant. Such

a transfer order avoids any unintended prejudice to the petitioner which might flow

from a dismissal of this action. See Burnett v. New York Cent. R. Co., 380 U.S. 424,

430 (1965). Moreover, addressing the question of venue in this fashion would not

constitute a ruling on the merits of the petitioner’s claims, thus assuring that the

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petitioner can have his case heard on its merits in the most appropriate forum. See,

18 Wright, Miller & Cooper Federal Practice and Procedure, ' 4436, at 338 (stating

that “a dismissal for lack of jurisdiction or improper venue does not operate as an

adjudication upon the merits”) (footnote omitted).

       In sum, George invites this court under the guise of a habeas petition to do

something which only the sentencing court should do–set aside his conviction and

sentence. We should also decline this invitation, given that George has made no

showing that § 2255 is inadequate or ineffective to test the legality of his sentence,

and that the remedy afforded under § 2241 is not an additional, alternative, or

supplemental remedy to that prescribed under § 2255. Instead, we should either

dismiss this petition or transfer the petition pursuant to 28 U.S.C. ' 1404 to the

sentencing court so that court may address the merits of these claims.

III.   Recommendation

       Accordingly, for the foregoing reasons, the petitioner’s motion to expedite

(Doc. 4) is GRANTED but IT IS RECOMMENDED that this Court either dismiss

this petition without prejudice or transfer this petition to the United States District

Court for the District of New Jersey pursuant to 28 U.S.C. ' 1404, so that court may

address the merits of these claims.

       Petitioner is placed on notice that pursuant to Local Rule 72.3:

       Any party may object to a magistrate judge’s proposed findings,
       recommendations or report addressing a motion or matter described in
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28 U.S.C. ' 636 (b)(1)(B) or making a recommendation for the
disposition of a prisoner case or a habeas corpus petition within
fourteen (14) days after being served with a copy thereof. Such party
shall file with the clerk of court, and serve on the magistrate judge and
all parties, written objections which shall specifically identify the
portions of the proposed findings, recommendations or report to which
objection is made and the basis for such objections. The briefing
requirements set forth in Local Rule 72.2 shall apply. A judge shall
make a de novo determination of those portions of the report or
specified proposed findings or recommendations to which objection
is made and may accept, reject, or modify, in whole or in part, the
findings or recommendations made by the magistrate judge. The judge,
however, need conduct a new hearing only in his or her discretion or
where required by law, and may consider the record developed before
the magistrate judge, making his or her own determination on the basis
of that record. The judge may also receive further evidence, recall
witnesses or recommit the matter to the magistrate judge with
instructions.

Submitted this 26th day of February 2019.


                                        S/ Martin C. Carlson
                                        Martin C. Carlson
                                        United States Magistrate Judge




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